Case 21-03076-sgj Doc 196-1 Filed 08/10/22        Entered 08/10/22 17:09:30      Page 1 of 30




 QUINN EMANUEL URQUHART & SULLIVAN LLP                     SIDLEY AUSTIN LLP
 Susheel Kirpalani (admitted pro hac vice)                 Paige Holden Montgomery
 Deborah J. Newman (admitted pro hac vice)                 Juliana L. Hoffman
 Robert S. Loigman (admitted pro hac vice)                 2021 McKinney Avenue
 Benjamin I. Finestone (admitted pro hac vice)             Suite 2000
 Calli Ray (admitted pro hac vice)                         Dallas, Texas 75201
 Alexandre J. Tschumi (admitted pro hac vice)              Telephone: (214) 981-3300
 51 Madison Avenue, 22nd Floor
 New York, NY 10010
 Telephone: (212) 849-7000

Co-Counsel for Marc S. Kirschner, as Litigation
Trustee of the Highland Litigation Sub-Trust
                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF TEXAS
 In re:
                                                   Chapter 11
 HIGHLAND CAPITAL MANAGEMENT, L.P.,1
                                                   Case No. 19-34054-sgj11
                   Reorganized Debtor.

 MARC S. KIRSCHNER, AS LITIGATION
 TRUSTEE OF THE LITIGATION SUB-TRUST,

                   Plaintiff,                      Adv. Pro. No. 21-03076-sgj
              v.                    DECLARATION OF
                                    PLAINTIFF’S ATTORNEY
 JAMES D. DONDERO; MARK A. OKADA;   DEBORAH J. NEWMAN
 SCOTT ELLINGTON; ISAAC LEVENTON;   IN SUPPORT OF
 GRANT JAMES SCOTT III; STRAND      APPLICATION FOR
 ADVISORS, INC.; NEXPOINT ADVISORS, ENTRY OF DEFAULT
 L.P.; HIGHLAND CAPITAL MANAGEMENT
 FUND ADVISORS, L.P.; DUGABOY       AGAINST DEFENDANTS
                                    MASSAND CAPITAL, LLC
 INVESTMENT TRUST AND NANCY         AND MASSAND
 DONDERO, AS TRUSTEE OF DUGABOY     CAPITAL, INC.
 INVESTMENT TRUST; GET GOOD TRUST   PURSUANT TO RULE
 AND GRANT JAMES SCOTT III, AS      55(a) OF THE FEDERAL
 TRUSTEE OF GET GOOD TRUST; HUNTER
 MOUNTAIN INVESTMENT TRUST; MARK & RULES    OF CIVIL
                                    PROCEDURE
 PAMELA OKADA FAMILY TRUST –
 EXEMPT TRUST #1 AND LAWRENCE
 TONOMURA AS TRUSTEE OF MARK &
 PAMELA OKADA FAMILY TRUST –
 EXEMPT TRUST #1; MARK & PAMELA

          1
         The last four digits of the Reorganized Debtor’s taxpayer identification number are
(8357). The Reorganized Debtor is a Delaware limited partnership. The Reorganized Debtor’s
headquarters and service address are 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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 OKADA FAMILY TRUST – EXEMPT TRUST
 #2 AND LAWRENCE TONOMURA IN HIS
 CAPACITY AS TRUSTEE OF MARK &
 PAMELA OKADA FAMILY TRUST –
 EXEMPT TRUST #2; CLO HOLDCO, LTD.;
 CHARITABLE DAF HOLDCO, LTD.;
 CHARITABLE DAF FUND, LP.; HIGHLAND
 DALLAS FOUNDATION; RAND PE FUND I,
 LP, SERIES 1; MASSAND CAPITAL, LLC;
 MASSAND CAPITAL, INC.; AND SAS ASSET
 RECOVERY, LTD.,

              Defendants.
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       DECLARATION OF PLAINTIFF’S ATTORNEY DEBORAH J. NEWMAN
       I, Deborah J. Newman, declare as follows:

       1.      I am an attorney at law duly licensed to practice before all courts in the State of

New York and am admitted pro hac vice to practice in the United States Bankruptcy Court for

the Northern District of Texas.

       2.      I am the attorney of record for Plaintiff Marc S. Kirschner (the “Litigation

Trustee”), as Litigation Trustee of the Litigation Sub-Trust (the “Trust”) established pursuant to

the Fifth Amended Plan of Reorganization (the “Plan”) of Highland Capital Management L.P.

(“HCMLP” or the “Reorganized Debtor”) (Bankruptcy Docket No. 1472), in the above-

captioned adversary proceeding and, as such, have knowledge of the matters contained herein.

What follows is true and correct based on my own personal knowledge. If called and sworn as a

witness, I could and would testify competently thereto.

       3.      Plaintiff filed his Complaint on October 15, 2021 (Docket No. 1). Summons was

issued for the Defendants Massand Capital, LLC, and Massand Capital, Inc. (collectively, the

“Massand Defendants”) on October 18, 2021 (Docket No. 3), and service was executed pursuant

to Rule 4 of the Federal Rules of Civil Procedure on November 2, 2021, as shown in the

November 10, 2021 filing with this Court (Docket Nos. 14 and 15, attached hereto as Exhibits 1

and 2). The Massand Defendants failed to answer or otherwise defend against the first

Complaint.

       4.      Plaintiff filed his Amended Complaint with this Court on May 19, 2022 (Docket

No. 158). Service was again executed on the Massand Defendants pursuant to Rule 4 of the

Federal Rules of Civil Procedure on May 20, 2022, as shown by the May 24, 2022 filing with

this Court (Docket No. 160, attached hereto as Exhibit 3).
Case 21-03076-sgj Doc 196-1 Filed 08/10/22           Entered 08/10/22 17:09:30      Page 4 of 30




       5.      Under Federal Rule of Civil Procedure 12, the time to answer or otherwise

respond to the Amended Complaint is 21 days. The parties extended this deadline to July 11,

2022, by stipulation (to which the Massand Defendants were signatories) and subsequent order

by this Court, entered on June 29, 2022 (Docket No. 167, attached hereto as Exhibit 4).

Accordingly, the Massand Defendants were required to answer or otherwise respond to the

Amended Complaint by July 11, 2022.

       6.      The Massand Defendants have failed to serve or file a pleading or otherwise

respond to the Amended Complaint. The applicable time limit for responding to the Amended

Complaint has expired.

       7.      The Massand Defendants are not minors or incompetent persons.

       8.      The Massand Defendants are not currently in the military service, and therefore

the Service-members Civil Relief Act is inapplicable.

       9.      The Massand Defendants are therefore in default, and Plaintiff requests that the

Clerk of this Court grant Plaintiff’s Application for the Entry of Default.



       I declare under penalty of perjury under the laws of the State of Texas and the United

States of America that the foregoing is true and correct.
Case 21-03076-sgj Doc 196-1 Filed 08/10/22   Entered 08/10/22 17:09:30      Page 5 of 30




 Dated: August 10, 2022                       Respectfully submitted,
        New York, New York
                                              QUINN EMANUEL URQUHART &
                                              SULLIVAN, LLP
                                              /s/ Deborah J. Newman
                                              Susheel Kirpalani (admitted pro hac vice)
                                              Deborah J. Newman (admitted pro hac vice)
                                              Robert S. Loigman (admitted pro hac vice)
                                              Benjamin I. Finestone (admitted pro hac vice)
                                              Calli Ray (admitted pro hac vice)
                                              Alexander J. Tschumi (admitted pro hac vice)
                                              51 Madison Avenue
                                              Floor 22
                                              New York, NY 10010
                                              Telephone: (212) 849-7000

                                              -and-

                                              SIDLEY AUSTIN LLP
                                              Paige Holden Montgomery
                                              Juliana L. Hoffman
                                              2021 McKinney Avenue
                                              Suite 2000
                                              Dallas, Texas 75201
                                              Telephone: (214) 981-3300
                                              Facsimile: (214) 981-3400

                                              Counsel for the Litigation Trustee
Case 21-03076-sgj Doc 196-1 Filed 08/10/22           Entered 08/10/22 17:09:30        Page 6 of 30




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document was sent

via electronic mail via the Court’s ECF system to parties authorized to receive electronic notice in

this case on August 10, 2022.

                                                     /s/ Deborah J. Newman
                                                     Deborah J. Newman
Case 21-03076-sgj Doc 196-1 Filed 08/10/22   Entered 08/10/22 17:09:30   Page 7 of 30




                                     Exhibit 1




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                                                                                       Docket #0003 Date Filed: 10/18/2021
BTXN 117a (rev. 10/02)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                    §
Highland Capital Management, L.P.                         §
                                                          §    Case No.: 19−34054−sgj11
                                        Debtor(s)         §    Chapter No.: 11
Marc Kirschner                                            §
                                        Plaintiff(s)      §    Adversary No.:      21−03076−sgj
      vs.                                                 §
James D. Dondero et al, Mark Okada, Scott Ellington,      §
Isaac Leventon, Grant James Scott III, Frank              §
Waterhouse, STRAND ADVISORS, INC., NexPoint               §
Advisors, L.P., Highland Capital Management Fund          §
Advisors, L.P., DUGABOY INVESTMENT TRUST                  §
AND NANCY DONDERO, AS TRUSTEE OF                          §
DUGABOY INVESTMENT TRUST, GET GOOD
TRUST AND GRANT JAMES SCOTT III, AS
TRUSTEE OF GET GOOD TRUST, Hunter Mountain
Investment Trust, MARK & PAMELA OKADA
FAMILY TRUST EXEMPT TRUST #1 AND
LAWRENCE TONOMURA AS TRUSTEE OF MARK
& PAMELA OKADA FAMILY TRUST EXEMPT
TRUST #1, MARK & PAMELA OKADA FAMILY
TRUST EXEMPT TRUST #2 AND LAWRENCE
TONOMURA IN HIS CAPACITY AS TRUSTEE OF
MARK & PAMELA OKADA FAMILY TRUST
EXEMPT #2, CLO HOLDCO, LTD; CHARITABLE
DAF HOLDCO, LTD., Charitable DAF Fund, Lp,
Highland Dallas Foundation, RAND PE FUND I, LP,
SERIES 1, MASSAD CAPITAL, LLC, MASSAND
CAPITAL, INC., SAS ASSET RECOVERY, LTD.,
AND CPCM, LLC
                                        Defendant(s)


                          SUMMONS IN AN ADVERSARY PROCEEDING
To the above−named defendant:

You are hereby summoned and required to serve upon Paige Holden Montgomery, Plaintiff's attorney (or if Plaintiff
is not represented by counsel, upon Plaintiff), whose address is Sidley Austin LLP
2021 McKinney Avenue, Suite 2000
Dallas, TX 75201 , either a motion or an answer to the complaint which is now served upon you. If you elect to
respond first by motion, as you may pursuant to Fed. R. Bankr. P. 7012, that governs the time within which your
answer must be served. Otherwise, you are required to serve your answer upon Plaintiff's attorney (or upon Plaintiff if
Plaintiff is not represented by counsel) within 30 days of the date of issuance of this summons by the clerk (or by the
following date prescribed by the court: N/A) except that the United States or an office or agency thereof shall serve
an answer to the complaint within 35 days after the date of issuance of the summons.

{If this summons and complaint is served in a foreign country} Service of your answer must be made by the following
date prescribed by the court N/A.

The motion or answer served by you must be filed with this court before service or within a reasonable time after
service. IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS SUMMONS, JUDGMENT BY
DEFAULT WILL BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



DATED: 10/18/21                                FOR THE COURT:
                                               Robert P. Colwell, Clerk of Court
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In Re: Kirschner v. Dondero et al
Case No. 19−34054−sgj11 −11
Adv. No. 21−03076−sgj

                                      SUMMONS SERVICE EXECUTED


  Chandler M. Rognes
I,___________________________________________________________________________
    Sidley Austin LLP
of**_________________________________________________________________________

certify:



     If service was made by personal service, by residence service, or pursuant to state law, I further certify that I am,
and all times during service of process was, not less than 18 years of age and not a party to the matter concerning
which service of process was made;
                 2nd
     That on the __________         November                             2021 I served a copy of the
                            day of ____________________________________,_______
within summons, together with the complaint filed in this proceeding, on
  Massand Capital, LLC and Massand Capital, Inc., including the Court's Order Regarding Adversary
  Proceeding Trial Setting and Alternative Scheduling Order (Docket No. 4),




the defendant in this proceeding, by {describe here the mode of service}
   e-mail sent to Jason Vanacour of Vanacour Perkins PLLC, legal counsel for



the said defendant at
   jvanacour@vanacourperkins.com. By email dated November 1, 2021, Mr. Vanacour agreed to accept
   service of the complaint and summons on behalf of his clients, Massand Capital, Inc. and Massand Capital,
   LLC, which were previously served via first class mail postage prepaid on October 22, 2021 on Massand
   Capital, Inc. and Massand Capital, LLC at their respective registered agents' addresses.
I certify under penalty of perjury that the foregoing is true and correct.


                       11/2/2021
           Executed on ___________________ _____________________________
                             (Date)                               (Signature)



             2021 McKinney Ave., Suite 2000, Dallas, TX 75201
           **____________________________________________________________________
             State mailing address
Case 21-03076-sgj Doc 196-1 Filed 08/10/22   Entered 08/10/22 17:09:30   Page 11 of 30




                                      Exhibit 2




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BTXN 117a (rev. 10/02)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                    §
Highland Capital Management, L.P.                         §
                                                          §    Case No.: 19−34054−sgj11
                                        Debtor(s)         §    Chapter No.: 11
Marc Kirschner                                            §
                                        Plaintiff(s)      §    Adversary No.:      21−03076−sgj
      vs.                                                 §
James D. Dondero et al, Mark Okada, Scott Ellington,      §
Isaac Leventon, Grant James Scott III, Frank              §
Waterhouse, STRAND ADVISORS, INC., NexPoint               §
Advisors, L.P., Highland Capital Management Fund          §
Advisors, L.P., DUGABOY INVESTMENT TRUST                  §
AND NANCY DONDERO, AS TRUSTEE OF                          §
DUGABOY INVESTMENT TRUST, GET GOOD
TRUST AND GRANT JAMES SCOTT III, AS
TRUSTEE OF GET GOOD TRUST, Hunter Mountain
Investment Trust, MARK & PAMELA OKADA
FAMILY TRUST EXEMPT TRUST #1 AND
LAWRENCE TONOMURA AS TRUSTEE OF MARK
& PAMELA OKADA FAMILY TRUST EXEMPT
TRUST #1, MARK & PAMELA OKADA FAMILY
TRUST EXEMPT TRUST #2 AND LAWRENCE
TONOMURA IN HIS CAPACITY AS TRUSTEE OF
MARK & PAMELA OKADA FAMILY TRUST
EXEMPT #2, CLO HOLDCO, LTD; CHARITABLE
DAF HOLDCO, LTD., Charitable DAF Fund, Lp,
Highland Dallas Foundation, RAND PE FUND I, LP,
SERIES 1, MASSAD CAPITAL, LLC, MASSAND
CAPITAL, INC., SAS ASSET RECOVERY, LTD.,
AND CPCM, LLC
                                        Defendant(s)


                          SUMMONS IN AN ADVERSARY PROCEEDING
To the above−named defendant:

You are hereby summoned and required to serve upon Paige Holden Montgomery, Plaintiff's attorney (or if Plaintiff
is not represented by counsel, upon Plaintiff), whose address is Sidley Austin LLP
2021 McKinney Avenue, Suite 2000
Dallas, TX 75201 , either a motion or an answer to the complaint which is now served upon you. If you elect to
respond first by motion, as you may pursuant to Fed. R. Bankr. P. 7012, that governs the time within which your
answer must be served. Otherwise, you are required to serve your answer upon Plaintiff's attorney (or upon Plaintiff if
Plaintiff is not represented by counsel) within 30 days of the date of issuance of this summons by the clerk (or by the
following date prescribed by the court: N/A) except that the United States or an office or agency thereof shall serve
an answer to the complaint within 35 days after the date of issuance of the summons.

{If this summons and complaint is served in a foreign country} Service of your answer must be made by the following
date prescribed by the court N/A.

The motion or answer served by you must be filed with this court before service or within a reasonable time after
service. IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS SUMMONS, JUDGMENT BY
DEFAULT WILL BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



DATED: 10/18/21                                FOR THE COURT:
                                               Robert P. Colwell, Clerk of Court
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In Re: Kirschner v. Dondero et al
Case No. 19−34054−sgj11 −11
Adv. No. 21−03076−sgj

                                      SUMMONS SERVICE EXECUTED


  Chandler M. Rognes
I,___________________________________________________________________________
    Sidley Austin LLP
of**_________________________________________________________________________

certify:



     If service was made by personal service, by residence service, or pursuant to state law, I further certify that I am,
and all times during service of process was, not less than 18 years of age and not a party to the matter concerning
which service of process was made;
                 2nd
     That on the __________         November                             2021 I served a copy of the
                            day of ____________________________________,_______
within summons, together with the complaint filed in this proceeding, on
  Massand Capital, LLC and Massand Capital, Inc., including the Court's Order Regarding Adversary
  Proceeding Trial Setting and Alternative Scheduling Order (Docket No. 4),




the defendant in this proceeding, by {describe here the mode of service}
   e-mail sent to Jason Vanacour of Vanacour Perkins PLLC, legal counsel for



the said defendant at
   jvanacour@vanacourperkins.com. By email dated November 1, 2021, Mr. Vanacour agreed to accept
   service of the complaint and summons on behalf of his clients, Massand Capital, Inc. and Massand Capital,
   LLC, which were previously served via first class mail postage prepaid on October 22, 2021 on Massand
   Capital, Inc. and Massand Capital, LLC at their respective registered agents' addresses.
I certify under penalty of perjury that the foregoing is true and correct.


                       11/2/2021
           Executed on ___________________ _____________________________
                             (Date)                               (Signature)



             2021 McKinney Ave., Suite 2000, Dallas, TX 75201
           **____________________________________________________________________
             State mailing address
Case 21-03076-sgj Doc 196-1 Filed 08/10/22   Entered 08/10/22 17:09:30   Page 15 of 30




                                      Exhibit 3




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                        )
 In re:                                                                 )
                                                                        )    Chapter 11
                                                           1
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                                     )
                                                                        )    Case No. 19-34054 (SGJ)
                              Reorganized Debtor.                       )
                                                                        )
                                                                        )
 MARC S. KIRSCHNER, AS LITIGATION TRUSTEE                               )
 OF THE LITIGATION SUB-TRUST,                                           )
                                                                        )
                               Plaintiff,                               )
 vs.                                                                    )
                                                                        )
 JAMES D. DONDERO; MARK A. OKADA; SCOTT                                 )    Adv. Pro. No. 21-03076 (SGJ)
 ELLINGTON; ISAAC LEVENTON; GRANT JAMES                                 )
 SCOTT III; FRANK WATERHOUSE; STRAND                                    )
 ADVISORS, INC.; NEXPOINT ADVISORS, L.P.;                               )
 HIGHLAND CAPITAL MANAGEMENT FUND                                       )
 ADVISORS, L.P.; DUGABOY INVESTMENT TRUST                               )
 AND NANCY DONDERO, AS TRUSTEE OF                                       )
 DUGABOY INVESTMENT TRUST; GET GOOD                                     )
 TRUST AND GRANT JAMES SCOTT III, AS                                    )
 TRUSTEE OF GET GOOD TRUST; HUNTER                                      )
 MOUNTAIN INVESTMENT TRUST; MARK &                                      )
 PAMELA OKADA FAMILY TRUST – EXEMPT                                     )
 TRUST #1 AND LAWRENCE TONOMURA AS                                      )
 TRUSTEE OF MARK & PAMELA OKADA FAMILY                                  )
 TRUST – EXEMPT TRUST #1; MARK & PAMELA                                 )
 OKADA FAMILY TRUST – EXEMPT TRUST #2 AND                               )
 LAWRENCE TONOMURA IN HIS CAPACITY AS                                   )
 TRUSTEE OF MARK & PAMELA OKADA FAMILY                                  )
 TRUST – EXEMPT TRUST #2; CLO HOLDCO, LTD.;                             )
 CHARITABLE DAF HOLDCO, LTD.; CHARITABLE                                )
 DAF     FUND,    LP.; HIGHLAND    DALLAS                               )
 FOUNDATION; RAND PE FUND I, LP, SERIES 1;                              )
 MASSAND CAPITAL, LLC; MASSAND CAPITAL,                                 )
 INC.; SAS ASSET RECOVERY, LTD.; AND CPCM,                              )
 LLC,

 1
   The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
 service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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                         Defendants.                       )
                                                           )

                                CERTIFICATE OF SERVICE

       I, Aljaira Duarte, depose and say that I am employed by Kurtzman Carson Consultants
 LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
 case.

         On May 20, 2022, at my direction and under my supervision, employees of KCC caused
 the following documents to be served via Electronic Mail upon the service list attached hereto
 as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

    •   Amended Complaint and Objection to Claims [Docket No. 158]

    •   Adversary Proceeding Cover Sheet [Docket No. 159]


 Dated: May 24, 2022

                                                /s/ Aljaira Duarte
                                                Aljaira Duarte
                                                KCC
                                                222 N Pacífic Coast Highway, Suite 300
                                                El Segundo, CA 90245




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                               EXHIBIT A
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                                                                                 4 ofof730
                                                                  Exhibit A
                                                            Adversary Service List
                                                           Served via Electronic Mail


              Description                      CreditorName             CreditorNoticeName                           Email
Counsel for the Former Employee                                     Debra A. Dandeneau, Blaire       debra.dandeneau@bakermckenzie.com;
Defendants                                Baker & Mckenzie LLP      Cahn                             blaire.cahn@bakermckenzie.com
Counsel for the Former Employee
Defendants                                Baker & Mckenzie LLP      Michelle Hartmann                michelle.hartmann@bakermckenzie.com

Counsel for Mark Okada, The Mark and
Pamela Okada Family Trust – Exempt
Trust #1, and The Mark and Pamela
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                                          Rochelle McCullough,
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Counsel for Official Committee of                                                                 preid@sidley.com;
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Kirschner, as Litigation Trustee of the                           Montgomery, Juliana Hoffman, jhoffman@sidley.com;
Highland Litigation Sub-Trust             Sidley Austin LLP       Chandler M. Rognes              crognes@sidley.com




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                                                          Exhibit A
                                                    Adversary Service List
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             Description                CreditorName             CreditorNoticeName                      Email
Counsel for James Dondero, Nancy
Dondero, Highland Capital
Management Services, Inc. and HCRE
Partners, LLC (n/k/a NexPoint Real                         Deborah Deitsch-Perez,        deborah.deitschperez@stinson.com;
Estate Partners, LLC)              Stinson LLP             Michael P. Aigen              michael.aigen@stinson.com

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Pamela Okada Family Trust – Exempt
Trust #1, and The Mark and Pamela
Okada Family Trust – Exempt Trust #2 Sullivan & Cromwell LLP Brian D. Glueckstein         gluecksteinb@sullcrom.com
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Massand Capital, LLC                  Vanacour Perkins PLLC Jason Vanacour, Kevin Perkins kperkins@vanacourperkins.com




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                               EXHIBIT B
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                                                                    Exhibit B
                                                              Adversary Service List
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                    Description                  CreditorName          CreditorNoticeName               Address1          City State Zip
       Counsel for Massand Capital, Inc. and
       Massand Capital, LLC                  Vanacour Perkins PLLC Jason Vanacour, Kevin Perkins 5851 Legacy Circle #600 Plano TX   75024




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                                      Exhibit 4




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The following constitutes the ruling of the court and has the force and effect therein described.




Signed June 28, 2022
______________________________________________________________________




                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION
         In re:
                                                                           Chapter 11
         HIGHLAND CAPITAL MANAGEMENT, L.P.,1
                                                                           Case No. 19-34054-sgj11
                       Reorganized Debtor.

         MARC S. KIRSCHNER, AS LITIGATION TRUSTEE
         OF THE LITIGATION SUB-TRUST,

                       Plaintiff,
                                                                           Adv. Pro. No. 21-03076-sgj
                  v.

         JAMES D. DONDERO; MARK A. OKADA; SCOTT STIPULATION AND PROPOSED
                                                      ORDER
         ELLINGTON; ISAAC LEVENTON; GRANT JAMES
         SCOTT III; STRAND ADVISORS, INC.; NEXPOINT
         ADVISORS,     L.P.;   HIGHLAND     CAPITAL
         MANAGEMENT         FUND   ADVISORS,    L.P.;
         DUGABOY INVESTMENT TRUST AND NANCY
         DONDERO, AS TRUSTEE OF DUGABOY

     1
       The last four digits of the Reorganized Debtor’s taxpayer identification number are (8357). The Reorganized
     Debtor is a Delaware limited partnership. The Reorganized Debtor’s headquarters and service address are 100
     Crescent Court, Suite 1850, Dallas, TX 75201.



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  INVESTMENT TRUST; GET GOOD TRUST AND
  GRANT JAMES SCOTT III, AS TRUSTEE OF GET
  GOOD      TRUST;     HUNTER     MOUNTAIN
  INVESTMENT TRUST; MARK & PAMELA OKADA
  FAMILY TRUST – EXEMPT TRUST #1 AND
  LAWRENCE TONOMURA AS TRUSTEE OF MARK
  & PAMELA OKADA FAMILY TRUST – EXEMPT
  TRUST #1; MARK & PAMELA OKADA FAMILY
  TRUST – EXEMPT TRUST #2 AND LAWRENCE
  TONOMURA IN HIS CAPACITY AS TRUSTEE OF
  MARK & PAMELA OKADA FAMILY TRUST –
  EXEMPT TRUST #2; CLO HOLDCO, LTD.;
  CHARITABLE DAF HOLDCO, LTD.; CHARITABLE
  DAF     FUND,   LP.;  HIGHLAND      DALLAS
  FOUNDATION; RAND PE FUND I, LP, SERIES 1;
  MASSAND CAPITAL, LLC; MASSAND CAPITAL,
  INC.; AND SAS ASSET RECOVERY, LTD.,

                Defendants.



     STIPULATION AND PROPOSED SECOND AMENDED SCHEDULING ORDER

        Plaintiff Marc S. Kirschner, as Litigation Trustee of the Litigation Sub-Trust (the

 “Litigation Trustee”), and the Defendants (together with the Litigation Trustee, the “Parties”),

 stipulate and agree that following the Litigation Trustee’s filing of his Amended Complaint and

 Objection to Claims, dated May 19, 2022 [Docket No. 158] (the “Amended Complaint”), certain

 modifications to the Court’s Amended Scheduling Order [Docket No. 81] (the “Scheduling Order”)

 are necessary and appropriate. The Parties hereby respectfully submit this Second Amended

 Scheduling Order (the “Revised Scheduling Order”) that, upon entry by the Court, supersedes and

 replaces the deadlines set forth in the Scheduling Order. Accordingly, the parties ask it be

 HEREBY ORDERED THAT:




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        1.      The Parties shall adhere to the following deadlines, which govern this Adversary

 Proceeding:

                            Event                                            Deadline
  Deadline for each Defendant to answer or otherwise move        July 11, 2022
  against the Amended Complaint
  Deadline for the Litigation Trustee to file an opposition to   September 19, 2022
  any motion filed by the Defendant(s) in response to the
  Amended Complaint
  Deadline for each Defendant to file a reply to the             November 14, 2022
  Litigation Trustee’s filing in opposition to any motion
  filed by Defendant(s) in response to the Amended
  Complaint
  Substantial completion of fact document discovery          December 5, 2022
  Start of fact depositions                                  Earlier of January 3, 2023 or
                                                             decision on the last outstanding
                                                             motion to dismiss
  Completion of fact depositions                             April 4, 2023
  Deadline to exchange names and addresses of experts and May 9, 2023
  expert witness reports
  Deadline to exchange names and addresses of rebuttal July 6, 2023
  experts and rebuttal expert witness reports
  Expert discovery closes                                    August 10, 2023
  Dispositive motion deadline                                September 8, 2023
  Deadline to file a response to dispositive motions         November 3, 2023
  Deadline to file a reply in support of dispositive motions December 1, 2023
  Last date for hearings on dispositive motions (subject to December 22, 2023
  the Court’s schedule)
  Deadline to exchange expert and witness lists              December 29, 2023
  Joint pretrial order deadline                              February 2, 2024
  Written proposed findings of fact and conclusions of law February 2, 2024
  deadline
  Docket call                                                February 12, 2024 at 1:30 pm CT


        2.      This Revised Scheduling Order shall only be modified in a writing signed by the

 Parties or upon entry of an order of the Court entered upon notice to the Parties.

        3.      The Court shall retain jurisdiction over all disputes arising out of or otherwise

 concerning the interpretation and enforcement of this Revised Scheduling Order.

                                        ###End of Order###



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 AGREED AS TO FORM AND SUBSTANCE:


  Dated: June 20, 2022                       Respectfully submitted,

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                                                     -and-

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                                             Deborah J. Newman (admitted pro hac vice)
                                             Robert Loigman (admitted pro hac vice)
                                             Benjamin I. Finestone (admitted pro hac vice)
                                             Calli Ray (admitted pro hac vice)
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                                             Brian W. Clark
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                                             Advisors, L.P.




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                                             Trust and Rand PE Fund I, LP, Series I




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                                             Pamela Okada Family Trust – Exempt Trust
                                             #1, and The Mark and Pamela Okada Family
                                             Trust – Exempt Trust #2

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                                             Massand Capital, LLC




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